
JUDGMENT
Tsoucalas, Senior Judge:
This Court having received and reviewed the United States Department of Commerce, International Trade Administration’s (“Commerce”) Final Results of Redetermination Pursuant to Court Remand, FAG Italia S.p.A., The Barden Corporation (U.K.) Ltd., The Barden Corporation and FAG Bearings Corporation v. United States, 24 CIT 720, 110 F. Supp. 2d 1055 (2000) (“Remand Results”), Torrington’s comments to the Remand Results, and Commerce having complied with the Court’s remand, and no other responses to the Remand Results having been submitted by the parties, it is hereby
Ordered that the Remand Results filed by Commerce on November 2, 2000 are affirmed in their entirety; and it is further
Ordered that since all other issues have been decided, this case is dismissed.
